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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


 DENISHA M. SEALS,                                       Case No. 8:22-cv-420

               Plaintiff,

 vs.                                                     NOTICE OF REMOVAL

 BOARD OF REGENTS OF THE
 UNIVERSITY OF NEBRASKA,
 UNIVERSITY OF NEBRASKA OMAHA,
 TRACY BRIDGEFORD, PHD., JOANNE
 LI, PHD., MARGARETTE CHRISTENSEN,
 PHD,

                Defendants.

         COME NOW the Defendants, Board of Regents of the University of Nebraska

(“BRUN”), University of Nebraska-Omaha (“UNO”), Dr. Tracy Bridgeford (“Dr.

Bridgeford”), Chancellor Joanne Li, Ph.D. (“Chancellor Li”), and Dr. Margarette

Christensen (“Dr. Christensen”) (collectively, “the Defendants”), by and through their

undersigned counsel, and pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, submit this

Notice of Removal of Civil Action (“Notice”), thereby removing this case to the United

States District Court for the District of Nebraska. In support of this Notice, the

Defendants state as follows:

                               TIMELINESS OF REMOVAL

         1.    The Defendants have been named as defendants in a civil action filed on

November 7, 2022 in the District Court of Douglas County, Nebraska, entitled Denisha

M. Seals vs. Board of Regents of the University of Nebraska, University of Nebraska

Omaha, Tracy Bridgeford, PhD., Joanne Li, PhD., Margarette Christensen, PhD, Case No.

CI 22-8612. A true and correct copy of the Summons and Complaint in this action is

attached to this Notice as Exhibit 1. [See Doc. No. 1, Ex. 1].
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         2.    On November 10, 2022, Plaintiff served the Summons and Complaint via

certified mail on Defendants UNO, Chancellor Li, Dr. Bridgeford, and Dr. Christensen.

         3.    This Notice, filed within thirty days of receipt via certified mail of the

Summons and Complaint by the aforementioned Defendants, is timely under 28 U.S.C.

§ 1446(b).

                       BASIS FOR THIS COURT’S JURISDICTION

         4.    This Court has original jurisdiction over this action under the provisions

of 28 U.S.C. § 1331 in that Plaintiff’s action arises under federal law and alleges federal

law claims. [See Doc. No. 1, Ex. 1].

         5.    Specifically, the Complaint invokes the Court’s jurisdiction pursuant to

and alleges claims under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et

seq. (“Title VII”), Title VI of the Civil Rights Act of 1964, and Title II of the Americans

with Disabilities Act of 1990, 42 U.S.C. § 12131 et seq. [See Doc. No. 1, Ex. 1, ¶¶ 2-4,

127-137, 143-147].

         6.    For these reasons, this Court has original jurisdiction over this action

under 28 U.S.C. § 1331, and removal is proper under 28 U.S.C. § 1441(a).

         7.    This Court also has supplemental jurisdiction pursuant to 28 U.S.C.

§ 1367(a) over all other claims asserted by Plaintiff’s Complaint.

         8.    Written notice of the filing of this Notice will be given to Plaintiff, by and

through her counsel of record, promptly after the filing of this Notice, as is required by

law.

         9.    A true and correct copy of this Notice will be filed with the Clerk of the

District Court of Douglas County, Nebraska, as is required by law.

         10.   By filing this Notice, the Defendants consent to removal of this action to

the United States District Court for the District of Nebraska.
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      11.     By filing this Notice, the Defendants do not waive any defenses and/or

affirmative claims, counterclaims, or third-party claims that may be available to the

Defendants.

      WHEREFORE, the Defendants Board of Regents of the University of Nebraska,

University of Nebraska-Omaha, Dr. Tracy Bridgeford, Chancellor Joanne Li, Ph.D., Dr.

Margarette Christensen hereby remove the above-captioned case from the District Court

of Douglas County, Nebraska, to the United States District Court for this District of

Nebraska.

       Dated December 7, 2022.

                                             BOARD OF REGENTS OF THE
                                             UNIVERSITY OF NEBRASKA,
                                             UNIVERSITY OF NEBRASKA-OMAHA,
                                             DR. TRACY BRIDGEFORD,
                                             CHANCELLOR JOANNE LI, PH.D., AND
                                             DR. MARGARETTE CHRISTENSEN,
                                             Defendants

                                       By:     s/ Tara A. Stingley
                                             Tara A. Stingley (#23243)
                                             Sydney M. Huss (#26581)
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                                             - and -

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                              CERTIFICATE OF SERVICE

       I, Tara A. Stingley, hereby certify I electronically filed the foregoing on December
7, 2022, with the Clerk of the United States District Court for the District of Nebraska
using the CM/ECF system, which sent an electronic copy to all registered case
participants, including the following:

        John D. Cartier
        johncartierlaw@gmail.com

                                                  s/ Tara A. Stingley


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